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U.S. Department of Justice
United States Attorney's Office

District of Delaware

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June 20, 2023
By Email

Mr. Keith Kincaid

U.S. District Court Clerk’s Office
U.S. District Court

844 King Street ? Z V4 U Mm

Wilmington, Delaware 19801
Re: Robert Hunter Biden
Dear Mr. Kincaid:

Enclosed, please find two Informations to be docketed in criminal matters involving
the above-referenced defendant. The first Information charges the defendant with tax
offenses—namely, two counts of willful failure to pay federal income tax, in violation of 26
U.S.C. § 7203. The defendant has agreed to plead guilty to both counts of the tax Information.
The second Information charges the defendant with a firearm offense—namely, one count of
possession of a firearm by a person who is an unlawful user of or addicted to a controlled
substance, in violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2) (2018). The defendant has
agreed to enter a Pretrial Diversion Agreement with respect to the firearm Information.

The defendant is represented by Christopher J. Clark. The parties jointly request that
the Court schedule a consolidated Initial Appearance on the firearm Information and an Initial
Appearance and Change of Plea Hearing on the tax Information charges. Original, executed
copies of the Memorandum of Plea Agreement related to the tax Information, and the Pretrial
Diversion Agreement related to the firearm Information, will be submitted at or in advance of
the Hearing.

Respectfully submitted,

DAVID C. WEISS
United States Attorney

JUN 20 2023 Leal. Wise /
Derek E. Hines

Special Assistant United States Attorneys

Benjamin L. Wallace
Assistant United States Attorney

Enclosures
CC: Christopher J. Clark
